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S DISTRICT COURT
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,

CaseNo. GR-2 1-00977- PHX-GM

Plaintiff,
ORDER TO SEAL INDICTMENT
vs. AND SUMMONS
1. Willie Mitchell (Filed Under Seal)

a.k.a. Blu Mitchell,

2. Toni Richardson,

 

Defendants.

 

 

 

Based upon the United States of America’s Motion to Seal pursuant to
Fed.R.Crim.P. 6(e)(4), and good cause appearing;

IT IS ORDERED that the Indictment filed in this matter, the Motion to Seal and
this order be filed under seal.

IT IS HEREBY ORDERED that excludable delay under 18 U.S.C. § 3161(h) is

found to commence from through

DATED this “2-4 dayot__ A/Meingerr 201.

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HONORABLE MICHELLE H. BURNS
United States Magistrate Judge

 

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